                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

  CANAL INSURANCE COMPANY,                         )
                                                   )
                Plaintiff,                         )
                                                   )
  v.                                               )      No.:   3:13-CV-447-TAV-HBG
                                                   )
  MOORE FREIGHT SERVICES, INC., et al.,            )
                                                   )
                Defendants.                        )


                                MEMORANDUM OPINION

         This declaratory judgment action is before the Court on Plaintiff’s Motion for

  Summary Judgment [Doc. 68]. Defendants TA Operating LLC and Treston Harris, filed

  a response indicating no opposition [Doc. 69]. 1 Defendant Patty Wilson, individually and

  as administrator for the Estate of Jerry Wilson, filed a response in opposition [Doc. 70],

  to which plaintiff replied [Doc. 71].     After careful consideration of the record and

  relevant law, and for the reasons set forth herein, the Court will grant plaintiff’s motion

  for summary judgment.

  I.     Background

         This declaratory judgment action arises out of tort litigation filed by Patty C.

  Wilson (“Mrs. Wilson”), individually and as administrator of the Estate of Jerry Wilson,

  in the United States District Court for the Eastern District of Pennsylvania, civil action

  number 2:13-cv-01093 (the “underlying tort action”) [Doc. 27 ¶ 13]. The underlying tort

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             The Court notes it dismissed Treston Harris from this action for lack of personal
  jurisdiction [Doc. 58].



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  action arises from the alleged personal injury and wrongful death of Jerry Wilson (“Mr.

  Wilson”) on or about October 17, 2011 [Id. ¶ 16].

         According to the allegations in the underlying tort action, Moore Freight Service

  Inc. (“Moore Freight”) hired Mr. Wilson to haul glass [Id. ¶ 17]. Moore Freight provided

  Mr. Wilson with trailer #211857 TN Reg #U256293 to transport the glass [Id.]. Mr.

  Wilson “was using the trailer . . . in the course and scope of occupation” [Doc. 27-2 ¶

  38].

         On October 27, 2011, Mr. Wilson allegedly noticed that “the braking system of his

  trailer started smoking and/or caught fire” [Id. ¶ 30]. Mr. Wilson “pulled to the side of

  the road, got out of his vehicle and while responding to the stressful emergency his heart

  stopped beating and he died” [Id.].

         Prior to October 27, 2011, plaintiff Canal Insurance Company issued a

  commercial automobile policy, policy number PIA0639650, to defendant Moore Freight

  (the “Policy”) [Doc. 27 ¶ 20]. The Policy is the subject of this motion for summary

  judgment. Plaintiff asserts that, under two exclusions in the Policy, it has no duty to

  defend or indemnify Moore Freight in the underlying tort action.

  II.    Standard of Review

         Summary judgment under Rule 56 of the Federal Rules of Civil Procedure is

  proper “if the movant shows that there is no genuine dispute as to any material fact and

  the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The

  moving party bears the burden of establishing that no genuine issues of material fact

  exist. Celotex Corp. v. Catrett, 477 U.S. 317, 330 n.2 (1986); Moore v. Philip Morris

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  Cos., Inc., 8 F.3d 335, 339 (6th Cir. 1993). All facts and all inferences to be drawn

  therefrom must be viewed in the light most favorable to the nonmoving party.

  Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986);

  Burchett v. Kiefer, 301 F.3d 937, 942 (6th Cir. 2002). Yet, “[o]nce the moving party

  presents evidence sufficient to support a motion under Rule 56, the nonmoving party is

  not entitled to a trial merely on the basis of allegations.” Curtis Through Curtis v.

  Universal Match Corp., 778 F. Supp. 1421, 1423 (E.D. Tenn. 1991) (citing Celotex, 477

  U.S. at 317). To establish a genuine issue as to the existence of a particular element, the

  nonmoving party must point to evidence in the record upon which a reasonable finder of

  fact could find in its favor. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

  The genuine issue must also be material; that is, it must involve facts that might affect the

  outcome of the suit under the governing law. Id.

         The Court’s function at the point of summary judgment is limited to determining

  whether sufficient evidence has been presented to make the issue of fact a proper

  question for the factfinder. Anderson, 477 U.S. at 250. The Court does not weigh the

  evidence or determine the truth of the matter. Id. at 249. Nor does the Court search the

  record “to establish that it is bereft of a genuine issue of material fact.” Street v. J.C.

  Bradford & Co., 886 F.2d 1472, 1479–80 (6th Cir. 1989). Thus, “the inquiry performed

  is the threshold inquiry of determining whether there is a need for a trial—whether, in

  other words, there are any genuine factual issues that properly can be resolved only by a

  finder of fact because they may reasonably be resolved in favor of either party.”

  Anderson, 477 U.S. at 250.

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  III.   Analysis

         Plaintiff argues it has no duty to defend or indemnify in the underlying tort action

  because the Policy’s employee-indemnification exclusion excludes coverage for injuries

  sustained by an employee of Moore Freight, and Mr. Wilson was an employee of Moore

  Freight. Plaintiff also argues it has no duty to defend or indemnify in the underlying tort

  action because the Policy’s workers’ compensation exclusion excludes coverage for

  injuries eligible for workers’ compensation benefits, and Mr. Wilson’s injuries were so

  eligible.

         A.     Choice of Law Analysis

         Before the Court addresses the Policy, the Court must examine what law governs

  this dispute. Plaintiff advocates for Tennessee law, while Mrs. Wilson advocates for

  Pennsylvania law.

         This is a diversity action; thus, state substantive law governs. Brocklehurst v.

  PPG Indus., Inc., 123 F.3d 890, 894 (6th Cir. 1997) (citing Erie R.R. Co. v.

  Tompkins, 304 U.S. 64, 78 (1938)). The Court is required to apply the choice-of-law

  rules of the state in which it sits. Montgomery v. Wyeth, 580 F.3d 455, 459 (6th Cir.

  2009) (citation omitted). “In Tennessee, absent a valid choice of law provision, the rights

  and obligations under an insurance policy are governed by the law of the state where the

  insurance policy was ‘made and delivered.’” Charles Hampton’s A–1 Signs, Inc. v. Am.

  States Ins. Co., 225 S.W.3d 482, 485 n.1 (Tenn. Ct. App. 2006) (quoting Ohio Cas. Ins.

  Co. v. Travelers Indem. Co., 493 S.W.2d 465, 467 (Tenn. 1973)); accord Yarnell v.

  Transamerica Life Ins. Co., 694 F. Supp. 2d 857, 861 (E.D. Tenn. 2010). This rule

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  embodies the traditional “lex loci contractu” choice-of-law theory. See Std. Fire Ins. Co.

  v. Chester O’Donley & Assocs., Inc., 972 S.W.2d 1, 5 n.1 (Tenn. Ct. App. 1998).

         No party has identified any choice-of-law provision in the Policy, but plaintiff

  asserts the Policy was “negotiated, drafted, entered into, and issued to Moore Freight in

  Knoxville, Tennessee” [Doc. 68-2 p. 7–8]. Mrs. Wilson asserts she is “without sufficient

  information or belief as to whether this factual averment is true” [Doc. 70 p. 2]. Mrs.

  Wilson, however, fails to demonstrate a genuine dispute in this regard, and she does not

  request additional discovery so that she may obtain this information. See Fed. R. Civ. P.

  56(c), (d). Plaintiff, on the other hand, has submitted an affidavit made on personal

  knowledge that sets out facts demonstrating the Policy was made and delivered in

  Tennessee [Doc. 68-2 p. 7–9]. The Court therefore determines there is no genuine

  dispute regarding where the Policy was made and delivered; that is, Tennessee. See Fed.

  R. Civ. P. 56(e)(2) (“If a party . . . fails to property address another party’s assertion of

  fact as required by Rule 56(c), the court may . . . consider the fact undisputed for

  purposes of the motion[.]”). Thus, the Court will apply Tennessee law.

         B.     Analysis of the Policy

         Under Tennessee law, “[t]he question of the extent of insurance coverage is a

  question      of     law      involving       the     interpretation     of      contractual

  language[.]” Clark v. Sputniks, LLC, 368 S.W.3d 431, 441 (Tenn. 2012). “Insurance

  contracts are ‘subject to the same rules of construction as contracts generally,’ and in the

  absence of fraud or mistake, the contractual terms ‘should be given their plain and

  ordinary meaning, for the primary rule of contract interpretation is to ascertain and give

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  effect to the intent of the parties.’” Id. (quoting U.S. Bank, N.A. v. Tenn. Farmers Mut.

  Ins. Co., 277 S.W.3d 381, 386–87 (Tenn. 2009)). As the Sixth Circuit has noted:

                If the language is clear and unambiguous, the literal meaning
                controls the outcome of the dispute. If, however, the words in a
                contract are susceptible to more than one reasonable interpretation,
                the parties’ intent cannot be determined by a literal interpretation of
                the language, and any uncertainties or ambiguities in an insurance
                policy must be construed strongly against the insurer and in favor of
                the insured. A strained construction may not be placed on the
                language used to find ambiguity where none exists, and a contract is
                not rendered ambiguous simply because the parties disagree as to the
                interpretation of one or more of its provisions.

  Cracker Barrel Old Country Store, Inc. v. Cincinnati Ins. Co., 499 F. App’x 559, 562

  (6th Cir. 2012) (alterations, quotation marks, and citations omitted).

         Regarding clauses that exclude coverage, Tennessee has determined they “should

  be strictly construed against the insurer but in light of their apparent purpose.” Nat’l Ins.

  Ass’n v. Simpson, 155 S.W.3d 134, 138 (Tenn. Ct. App. 2004) (citations omitted).

  “When the purpose of an exclusion can be ascertained, the courts should avoid construing

  the language of the exclusion so narrowly that its purpose is undermined.” Id. (footnote

  omitted) (citing Std. Fire, 972 S.W.2d at 8).

                1.     Employee-Indemnification Exclusion

         Plaintiff asserts it has no duty to defend Moore Freight in the underlying tort

  action because the Policy excludes coverage for “bodily injury” to “[a]n ‘employee’ of

  the ‘insured’ arising out of and in the course of: (1) [e]mployment by the ‘insured’; or (2)

  [p]erforming the duties related to the conduct of the ‘insured’s’ business” [Doc. 1-2 p.




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  35]. The exclusion applies “[w]hether the ‘insured may be liable as an employer or in

  any other capacity” [Id.]. “Employee” is defined in the Policy as the following:

                “Employee” includes a “leased worker”. “Employee” also includes
                any individual, other than an employer, who is employed by an
                employer and who is in the course of his or her employment directly
                affects commercial motor vehicle safety. Such term includes a
                driver of a commercial motor vehicle (including an independent
                contractor while in the course of operating a commercial motor
                vehicle), a mechanic, and a freight handler. Such term does not
                include an employee of the United States, any State, any political
                subdivision of a State, or any agency established under a compact
                between States and approved by the Congress of the United States
                who is acting within the course of such employment. “Employee”
                does not include a “temporary worker”.

  [Id. at 93 (emphasis added)]. This definition of employee in the Policy is identical to the

  definition of “employee” in the Federal Motor Carrier Safety Act, which Tennessee has

  adopted. 49 C.F.R. § 390.5; Tenn. Comp. R. & Regs. 1340-06-01-.08; see also Miller v.

  Northland Ins. Co., No. M2013-00572-COA-R3-CV, 2014 WL 1715076, at *2 n.5

  (Tenn. Ct. App. Apr. 29, 2014).

         Mrs. Wilson argues the exclusion for bodily injury does not apply because Mr.

  Wilson was not an “employee” of Moore Freight. She asserts Mr. Wilson “could not

  have been ‘operating a commercial vehicle’ at the time of his death” as he “was not in the

  vehicle” [Doc. 70 p. 15]. Mrs. Wilson further argues Mr. Wilson was not “employed by”

  Moore Freight [Id. at 18]. Because “employed” is not defined in the Policy, Mrs. Wilson

  looks to Webster’s dictionary, which defines “employed” as “to provide with a job that

  pays wages or salary” [Id.]. She argues Mr. Wilson did not receive wages or salary from

  Moore Freight [Id.].


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        Despite Mr. Wilson being outside of the commercial motor vehicle, the Court

  finds there is no genuine issue of material fact regarding whether Mr. Wilson was

  operating the vehicle—he was. In reaching this conclusion, the Court finds instructive

  those cases examining the Federal Motor Carrier Safety Act’s definition of the term

  “employee.” Upon review of those cases, the Court notes many courts have held injured

  non-drivers fall within the definition of “employee.” See Ooida Risk Retention Grp., Inc.

  v Williams, 579 F.3d 469, 471, 475–76 (5th Cir. 2009) (finding that tandem driver “who

  was occupying the rig’s sleeper berth” was statutory employee under § 390.5);

  Consumers Cnty. Mut. Ins. Co. v. P.W. & Sons Trucking, Inc., 307 F.3d 362, 364–67 (5th

  Cir. 2002) (same). And courts have held drivers injured while outside of the vehicle also

  fall within the definition of “employee.” See Lancer Ins. Co. v. Newman Specialized

  Carriers, Inc., 903 F. Supp. 2d 1272, 1274, 1278–81 (N.D. Ala. 2012) (finding that driver

  who was injured while unloading material from the trailer was an employee). Thus, one

  need not be driving the commercial motor vehicle to be “operating” it. But see Pouliot v.

  Paul Arpin Van Lines, Inc., 292 F. Supp. 2d 374, 379 (D. Conn. 2003) (finding that

  “operating” means “driving”).

        Mr. Wilson was not driving and was outside of the vehicle at the time of his

  injury. Moore Freight hired Mr. Wilson to drive the vehicle and deliver glass, but in the

  course of driving the vehicle, Mr. Wilson noticed the brakes started smoking or had

  caught fire. He pulled the vehicle over to the shoulder, got out of his vehicle, and while

  responding to the stressful emergency, he died as a result of his heart failure. Even

  though he was outside of the vehicle, the Court finds he did not cease operating the

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  vehicle. Undisputedly, he got out of the vehicle so that he could ensure the vehicle’s

  operability. The Court thus finds Mr. Wilson was “operating the commercial motor

  vehicle” at the time of his death. See Miller, 2014 WL 1715076, at *3 (finding that co-

  driver sitting in passenger seat was an employee because she was “‘in the course of

  operating a commercial vehicle’”); United Fin. Cas. Co. v. Abe Hershberger & Sons

  Trucking Ltd., No. 11AP-629, 2012 WL 457715, at *5 (Ohio Ct. App. Feb. 14, 2012)

  (“Nothing in section 390.5 limits an independent contractor’s status as a statutory

  employee to times when the individual is actually operating the commercial motor

  vehicle.”).

         Mrs. Wilson further argues Mr. Wilson was not an “employee” because he was not

  “employed by” Moore Freight. But the Court finds this argument unpersuasive. First, to

  the extent Mrs. Wilson claims Mr. Wilson did not receive “wages or salary” from Moore

  Freight, the Court notes Mr. Wilson in fact received money payments for his labor and

  services [See Doc. 68-2 p. 12].    Second, even if Mr. Wilson was an independent

  contractor under the common-law definition—a determination the Court does not make—

  courts have noted the federal regulation eliminated the common-law distinction between

  employees and independent contracts “to discourage motor carriers from using the

  independent contractor relationship to avoid liability exposure at the expense of the

  public.” P.W. & Sons, 307 F.3d at 366; see also Miller, 2014 WL 1715076, at *1 n.2

  (concluding that the court “need not address” whether individual was “an independent

  contractor under Tennessee law” because pertinent definition is one contained in the

  insurance policy); United Fin. Cas. Co., 2012 WL 457715, at *5 (“Because an employee

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   under section 390.5 must be “employed by an employer,” the term “employed” cannot be

   read to exclude independent contractors.”); Canal Indemnity Ins. Co. v. TexCom

   Transportation, LLC, No. 3-09-CV-1430-BD, 2010 WL 2301007, at *4–5 (N.D. Tex.

   June 4, 2010) (finding that an alleged independent contractor was an employee under the

   definition).

          Accordingly, because the Court finds Mr. Wilson was an employee of Moore

   Freight under the definition set forth in the Policy who sustained a bodily injury arising

   out of and in the course of his employment by Moore Freight, the Court finds there is no

   coverage under the Policy for his injuries. Thus, plaintiff has no duty to defend Moore

   Freight in the underlying tort action. See Cincinnati Ins. Co. v. Grand Pointe, LLC, No.

   1:05-CV-161, 2006 WL 1806014, at *4–9 (E.D. Tenn. June 29, 2006) (stating that

   “[u]nder Tennessee law, an insurance company’s duty to defend its insured is triggered

   by a complaint that alleges a potential basis for the claimant to recover against the

   insured that is within the risk insured against” (footnote and citation omitted)). And

   because plaintiff has no duty to defend, plaintiff has no duty to indemnify. Id. (“Since

   Cincinnati has no duty to defend, “[i]t logically follows . . . there is no duty to

   indemnify.” (alteration in original) (quoting Standard Const. Co., Inc. v. Md. Cas. Co.,

   No. 01-2006V, 2002 WL 1477886, at *5 (W.D. Tenn. Apr. 23, 2002))).

                  2.   Workers’ Compensation Exclusion

          After Mr. Wilson’s death, Mrs. Wilson, as administrator of Mr. Wilson’s estate,

   made a claim in North Carolina for workers’ compensation benefits [Doc. 68-2 p. 3].

   The claim was settled [Id.]. Given that the Policy coverage “does not apply to . . . [a]ny

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   obligation for which the ‘insured’ or the ‘insured’s’ insurer may be held liable under any

   workers’ compensation . . . law or any similar law” [Doc. 1-2 p. 35–36], plaintiff asserts

   it has no duty to defend or indemnify in the underlying tort action [Doc. 68-1 p. 14–15].

          Mrs. Wilson argues she can recover for emotional and psychological loss in the

   underlying tort action, but she could not have in the North Carolina workers’

   compensation case or under Pennsylvania workers’ compensation laws [Doc. 70 p. 19].

   But this argument is without merit under the plan language of the Policy. The exclusion

   applies when Moore Freight or Moore Freight’s insurer may be held liable under any

   workers’ compensation law; the exclusion applies regardless of the extent or type of

   benefits recoverable under workers’ compensation laws.

          Thus, the Court finds plaintiff has no duty to defend Moore Freight in the

   underlying tort action for this reason as well. See Hanover Ins. Co. v. Jones, 979 F.

   Supp. 2d 1210, 1216–17, 1219 (D. Kan. 2013) (finding that workers’ compensation

   exclusion excluded coverage to family members of employee who received workers’

   compensation benefits for death of employee); XL Ins. Am., Inc. v. Ortiz, 673 F. Supp. 2d

   1331, 1344 (S.D. Fl. 2009) (finding that workers’ compensation exclusion excluded

   coverage for employee who had received over $270,000 in workers’ compensation

   benefits).




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   IV.   Conclusion

         For the reasons set forth herein, the Court will GRANT plaintiff’s Motion for

   Summary Judgment [Doc. 68]. Plaintiff has no duty to defend or indemnify Moore

   Freight in the underlying tort action because the employee-indemnification and workers’

   compensation exclusions apply.

         ORDER ACCORDINGLY.


                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE




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